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                   UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
                                     :
TROY ALLISON,                        :
                                     :
                   Plaintiff,        :      Civ. Action No. 08-5801 (PBT)
                                     :
            v.                       :
                                     :
PENNCRO ASSOCIATES, INC.,            :
                                     :
                   Defendant.        :
____________________________________ :


                                              NOTICE

       Please be advised that a settlement conference will be held before the Honorable Petrese
B. Tucker on Monday, February 1, 2010 at 11:00 a.m. in Room 9613, United States Courthouse,
601 Market Street, Philadelphia, Pennsylvania.

       If trial counsel in this case is on trial in a Court of record at the time of the conference,
another attorney in such trial attorney’s office, who should be familiar with the case, is required to
appear. This conference will be continued to another date only in exceptional cases.

        At any settlement conference, counsel shall have his/her client or a person authorized by
his/her client with unlimited authority to settle at the conference or available by telephone during the
entire conference.

       Counsel is required to evaluate the case for settlement purposes. Counsel is required to
submit a confidential settlement memorandum to the Court by the close of business on Wednesday,
January 27, 2010, that contains the relative strengths and weaknesses of the party’s case, the terms
and conditions of any prior settlement offers, and any additional information that is important for
settlement purposes.


                                               /s/ Alisa Ross

                                               Alisa Ross
                                               Deputy Clerk to the Honorable Petrese B. Tucker
                                               (267) 299-7619
